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 February 12, 2023

 via ECF
 Honorable Dora L. Irizarry
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:    U.S. v. Keith Wyche and Oneil Allen, 18 Cr. 561 (DLI)
        Motion in Limine to Admit Out of Court Statement

 Dear Judge Irizarry:

        We write to move in limine to offer an out-of-court statement by Sarah Wieboldt
 that is critical to the defense and admissible under multiple established hearsay exceptions.

        I.     Background

        According to a DD5 detective’s memorandum (the DD5) written by Detective Peter
 Reyes, on her way to the hospital immediately following her overdose, Ms. Wieboldt
 “admitted” to Officer Rutigliano that she purchased the drugs from the individual saved in
 her phone as “Connect.” (not “James”). The police at that time viewed Ms. Wieboldt’s
 phone. Thereafter, they obtained the actual phone, but it did not have information relating
 to the October 27, 2017 overdose and they have not produced it in evidence.
        Ms. Wieboldt’s statement, as recorded in the DD5 (3500-SW-4) is central to the
 defense case as it establishes that the drugs that caused the overdose were sold by someone
 other than the defendants. On cross examination, Ms. Wieboldt testified that that should
 could not recall the conversation contained in the DD5. Tr. 798.
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        II.    The statement of Wieboldt is admissible as a prior inconsistent
               statement

            The statement that another person sold Ms. Weiboldt the drugs on October 27,
 2017 is clearly inconsistent with her trial testimony. This inconsistency is material to the
 defendants’ case in that it is directly relevant to the a charge against them. Rules 613 and
 801 (c). The jury is entitled to weigh the credibility of Ms. Wieboldt’s trial testimony in
 light of the prior inconsistent statement. Moreover, pursuant to Rule 801 (d) (1) (C) the
 statement it is not hearsay in that it identifies someone other than the defendants that the
 witness perceived earlier.


        III.   The DD5 is admissible as a business record.

        There are two layers of hearsay to address: the police report and Wieboldt’s
 statement within it. The first layer is easily disposed of as the detective’s report, known as
 a DD5, is plainly a business record admissible under Rule 803(6). It is well established that
 police reports are admissible as business records when offered by the defense. United
 States v. Carneglia, 256 F.R.D. 384, 391 (E.D.N.Y. 2009) (Weinstein, J.) (“A criminal
 defendant may offer police reports under the business records hearsay exception in Federal
 Rule of Evidence 803(6).”); Spanierman Gallery, Profit Sharing Plan v. Merritt, 2003 WL
 22909160, at *5 (S.D.N.Y. Dec. 9, 2003) (“As is true for police reports, FBI reports are
 admissible in evidence as either business records, see Fed. R. Evid. 803(6), or
 as public records, see Fed. R. Evid. 803(8).”).
        Here, the DD5 was prepared the same day as the overdose and the law enforcement
 interaction with Ms. Wieboldt – October 27, 2017. It was entered into the NYPD database
 and maintained there as part of the ordinary practice and course of activities of a NYPD
 detective. These foundational facts will be elicited by Detective Reyes and Police Officer
 Rutigliano both of whom will be subpoenaed on February 13, 2023 to testify in the
 defense’s case.
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        IV.    Wieboldt’s identification of another drug dealer is admissible under
               multiple hearsay exceptions.

        Ms. Wieboldt’s statements as recorded in the DD5 report are also admissible under
 multiple hearsay exceptions: as an excited utterance; as a present sense impression; and as
 a statement against penal interest.

         A. The statement is an excited utterance.
         An “excited utterance” is admissible under Rule 803(2) when it is made “under the
 stress of excitement caused by the event or condition” when making the statement. United
 States v. Scarpa, 913 F.2d 993, 1017 (2d Cir. 1990) (quotation marks omitted). Here, the
 statement was made while the Ms. Wiebodlt was in the throes of an overdose, afraid that
 she could die, and being rushed to a hospital.
        B. The statement is a present sense impression.
        Ms. Wieboldt’s statement is also a present sense impression admissible under Rule
 803(1). The present sense impression exception to the rule against hearsay requires that
 the statement be made “while or immediately after the declarant perceived” the event or
 condition at issue. Here, the statements were made during the course of the overdose, while
 Ms. Wiebeoldt was still in an ambulance.
        C. The statement was made against penal interest
       Ms. Wieboldt’s statement that she purchased drugs and a had a dealer’s contact in
 her phone was plainly an admission against penal interest and therefore admissible under
 Rule 804(b)(3). A statement is admissible under this exception if the witness’ testimony is
 unavailable; a reasonable person in the declarant’s shoes would perceive the statement as
 detrimental to their interest; and there exists corroboration of the statement.
        As a threshold matter, Ms. Wieboldt’s testimony is “unavailable” – even though
 Wieboldt was called as a government witness – because she “testifie[d] to not remembering
 the subject matter.” Fed. R. Evid. 803(a)(3); see generally United States v. Salerno, 937
 F.2d 797, 805 (2d Cir. 1992) (“[T]he crucial factor is not the unavailability of the witness
 but the unavailability of his testimony.”) (quoting J. Weinstein & M. Berger, Weinstein's
 Evidence ¶ 804(a)[01], at 804–36). Here, given two opportunities to recall what she said in
 the ambulance, Ms. Wieboldt testified, “I don’t recall the conversation with a police officer
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 in detail in the ambulance” and “I can’t say with certainty” what was said. Tr. 798.
 Wieboldt’s lack of memory renders her unavailable within the meaning of Rule 803(a)(3).
        Next, a reasonable person in Ms. Wieboldt’s shoes would have understood that she
 was providing a statement against penal interest. United States v. Saget, 377 F.3d 223, 231
 (2d Cir. 2004). The police themselves realized precisely that, as they wrote that in the DD5
 that Wieboldt “admitted” she had her drug dealer’s name in her phone under the contact
 called “Connect.” By telling the police that she had purchased drugs from a dealer whose
 contact was in her phone, Wieboldt admitted to violating, inter alia, NYPL 220.03, which
 makes it a crime to “possess” a “controlled substance.” Further, by admitting that she
 purchased, possessed, and consumed drugs provided by a dealer listed in her phone, Ms.
 Wieboldt was admitting to violating NYPL 220.39(1), which makes it a class B felony to
 knowingly and unlawfully “sell” a narcotic drug; and “sell” is defined in NYPL 220.00 as
 to “exchange, give or dispose of to another, or to offer or agree to do the same.”

         Simply put: any reasonable person would consider it self-inculpatory to tell the
 police that she purchased and consumed drugs from a dealer she keeps in her contacts. The
 police understood that and described Ms. Wieboldt’s admission as just that – an admission
 – as stated in the DD5.

         Finally, to be admissible, there must be “corroborating circumstances that clearly
 indicate,” Fed. R. Evid. 804(3)(B), “both the declarant’s trustworthiness and the truth of
 the statement,” United States v. Lumpkin, 193 F.3d 280, 287 (2d Cir. 1999). Further, “the
 inference of trustworthiness from the proffered ‘corroborating circumstances' must be
 strong, not merely allowable.” United States v. Salvador, 820 F.2d 558, 561 (2d Cir. 1987).
 Here, Wieboldt did not deny that she made the statement, nor did she testify that she never
 had a contact called Connect. See Tr. 798. The overdose itself is corroboration of the
 circumstances. Further her testimony that she purchased narcotics from multiple persons
 corroborates the statement.
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         In short, admitting to the police that she purchased, possessed, and consumed drugs
 provided by a contact known as “Connect” was plainly an admission against interest and
 the statement is admissible under Rule 804(b)(2)(3).

                                                   Respectfully,

                                                   s/
                                                   Natali Todd
                                                   Cody Warner
                                                   Attorneys for Oneil Allen

                                                   s/
                                                   Gary Schoer
                                                   Michael Vitaliano
                                                   Attorneys for Keith Wyche


 cc:    All counsel of record (by ECF)
